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IN THE UNITED sTATEs DISTRiCT COURT ,_ " go .;).C
FoR THE WESTERN DISTRICT oF TENNESSEE 95 fm 5./ l o `
WESTERN DIVISION `” 'W !U= _/ -;

 

 

UNITED STATES OF AMERlCA,
Plaintiff,

VS. NO. 96-20052-1\/[21

JAMES S PENCER,

Defendant.

ORDER RESETTING SENTENCING DATE

Before the court is the defendant’s May ]1, 2005, motion to continue the sentencing of
James Spencer, which is presently set for May 13, 2005. For good cause shown, the motion is
granted The Scntencing of defendant James Spencer is reset to Tuesday, May ]7, 2005 at

10:00 a.m.

it is 30 ORDERED this |u'{\iay ofMay, 2005.

JAJ//”I\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 411 in
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Honorable Samuel Mays
US DISTRICT COURT

